1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOSE ANGUIANO
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   No. 2:08-cr-00417-MCE
                                                      )
12                         Plaintiff,                 )   STIPULATION AND ORDER CONTINUING
                                                      )   STATUS CONFERENCE
13          v.                                        )
                                                      )
14   JOSE ANGUIANO, et al.,                           )   Date: January 15, 2009
                                                      )   Time: 9:00 a.m.
15                     Defendants.                    )   Judge: Morrison C. England, Jr.
     _______________________________                  )
16
17          It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorney, attorney
18   for plaintiff; Danny D. Brace, Jr., attorney for defendant FERNANDO MURGUIA-OCHOA; Dina Lee
19   Santos, attorney for MIGUEL ZEPEDA-LOPEZ; Mary M. French, Supervising Assistant Federal
20   Defender, attorney for defendant JOSE ANGUIANO; Dan Frank Koukol, attorney for MARIO
21   SARRANO-ABURTO; and, Thomas A. Johnson, attorney for JOSHUA ORTEGA, that the Status
22   Conference hearing date of December 4, 2008, be vacated and a new Status Conference hearing date of
23   January 15, 2009, at 9:00 a.m. be set.
24          The continuance is requested because defense counsel is in the process of conducting investigation
25   and research, and needs more time to complete these tasks.
26          It is further stipulated that the period from December 4, 2008, through and including January 15,
27   2009, should be excluded pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon
28   continuity of counsel and defense preparation.
1    Dated: December 3, 2008    Respectfully submitted,
2                               DANIEL J. BRODERICK
                                Federal Defender
3
                                /s/ Mary M. French
4
                                MARY M. FRENCH
5                               Supervising Assistant
                                Federal Defender
6                               Attorney for Defendant
                                TAMARA ALLEN
7
8
     Dated: December 3, 2008    /s/ Mary M. French for
9                               Danny D. Brace, Jr.
10                              DANNY D. BRACE, JR.
                                Attorney for Defendant
11                              FERNANDO MURGUIA-OCHOA
12
     Dated: December 3, 2008    /s/ Mary M. French for
13                              Dina Lee Santos
14                              DINA LEE SANTOS
                                Attorney for Defendant
15                              MIGUEL ZEPEDA-LOPEZ
16
     Dated: December 3, 2008    /s/ Mary M. French for
17                             Dan Frank Koukol
18                              DAN FRANK KOUKOL
                                Attorney for Defendant
19                              MARIO SARRANO-ABURTO
20
     Dated: December 3, 2008    /s/ Mary M. French for
21                             Thomas A. Johnson
22                              THOMAS A. JOHNSON
                                Attorney for Defendant
23                              JOSHUA ORTEGA
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1    Dated: December 3, 2008     MCGREGOR W. SCOTT
                                 United States Attorney
2
                                 /s/ Mary M. French for
3                                   Jason Hitt
4                                JASON HITT
                                 Assistant U.S. Attorney
5
6                              ORDER
7          IT IS SO ORDERED.
8
9    Dated: December 5, 2008

10                             ________________________________
                               MORRISON C. ENGLAND, JR.
11                             UNITED STATES DISTRICT JUDGE
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